  Case 19-10055         Doc 19     Filed 05/24/19 Entered 05/24/19 12:45:52        Desc Main
                                    Document     Page 1 of 15


                       UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF NORTH CAROLINA

 In Re:                                         )
                                                )
 David Keith Bailey                             )              Case No. 19-10055
 Debra Lynn Bailey                              )
                               Debtors          )

             CHAPTER 7 TRUSTEE’S EX PARTE APPLICATION TO RETAIN
                       BK GLOBAL REAL ESTATE SERVICES

          COMES NOW, Barbara Stalzer, the duly authorized and acting Chapter 7 Trustee, and

files this Application to Retain BK Global Real Estate Services pursuant to 11 U.S.C. § 327 to

provide marketing services and short sale negotiations with the secured creditor and shows the

Court as follows:

          1. At the time of filing Debtors were owners of real property located at 956 EDMUND

             STREET ABERDEEN, MD 21001, and which is further described as:

                Parcel Number: 02-017199
                Tax ID: 017199
                Zoning: R3
                City/Municipality/Township: ABERDEEN
                Census Tract: 240253029.023007
                Carrier Route: C010
                Abbreviated Description: DIST:02 CITY/MUNI/TWP:ABERDEEN LOT 10
                70X120 956 EDMUND ST HILLSDALE S1 P3 PT 41/69 MAP REF:206 0 2774
                Plat Map: –


             hereinafter referred to as the “Real Property”.

          2. The Debtors listed the Real Property on their schedules as having a value of

             $185,000.00 as against a first mortgage with Mr. Cooper in an amount exceeding

             $200,304.00. The schedules do not show a second mortgage.

          3. The Trustee has been contacted by BK Global Real Estate Services (hereinafter “BK

             Global”) as the Real Property appears to be a candidate for a short sale involving a



R&S 2236326_1
  Case 19-10055        Doc 19       Filed 05/24/19 Entered 05/24/19 12:45:52          Desc Main
                                     Document     Page 2 of 15


            carve-out to the estate, that will provide an amount to the Bankruptcy Estate for

            distribution to creditors. After several discussions with Sharon Sirois, a representative

            of BK Global, and after inspection of the Real Property by a local real estate agent in

            Aberdeen, MD (under the direction of BK Global), the Trustee has determined that

            there is a reasonable possibility of benefit to the creditors of the estate and that she

            should proceed with employing BK Global. Based upon her discussions with Ms.

            Sirois, and upon the declarations of Patrick Butler and Beth Buss, attached hereto as

            Exhibits “A” and “B”, the Trustee believes that BK Global has lender relationships and

            experience in working with bankruptcy estates that will facilitate both a sale and a

            return to the estate.

        4. BK Global and its associated real estate broker will provide services to the Trustee to

            accomplish the following:

                a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter

                    7 Trustee determines to have made the best qualified offer with the sale

                    approved by the Court, pursuant to 11 U.S.C. § 363;

                b. Obtain the release the senior mortgage and waive all of its claims against the

                    estate with respect to the Real Property (including any deficiency claims

                    resulting from the proposed sale);

                c. Work with the secured mortgage holder to enter into an agreement for an 11

                    U.S.C. § 506 surcharge to pay all of the closing expenses associated with the §

                    363 sale, including the payment of a six percent (6%) real estate brokerage

                    commission and reimbursement of their out-of-pocket expenses to BK Global

                    and any associated real estate professional, paid from the proceeds of the sale,




R&S 2236326_1
  Case 19-10055        Doc 19     Filed 05/24/19 Entered 05/24/19 12:45:52             Desc Main
                                   Document     Page 3 of 15


                   and provide a meaningful carve out of 3% - 5% of the sale price for the benefit

                   of the Bankruptcy Estate, with the agreement to be included in a sale motion

                   and in a proposed consent order for the sale under Section 363. For the sale of

                   this Real Property, the carve out for the benefit of the bankruptcy estate will

                   come from a flat $10,000.00 buyer’s premium which shall not be reduced if the

                   price is reduced, but may be subject to negotiation, if appropriate in the

                   judgment of the Trustee.

        5. BK Global will not be entitled to any fees if the first mortgage holder does not grant its

            consent or the Court does not grant the motion to approve the sale of the Real Property.

        6. BK Global or associated real estate professional are only entitled to payment if and

            when (a) secured creditor grants its consent, (b) the motion to approve sale is granted

            and (c) the Real Property is sold, in which event BK Global or associated real estate

            professional will receive a six percent (6%) real estate brokerage commission and

            obtain reimbursement of any out-of-pocket expenses.

        7. The Trustee believes that the highest and best value for the Real Property will be

            generated through a sale in which the Real Property is widely marketed to the public

            and offered at the highest price that the market will bear. The Trustee further believes

            that such a sale is in the best interest of the bankruptcy estate but can only be achieved

            if the Secured Creditor’s consent is first obtained. The Chapter 7 trustee believes that

            retaining BK Global and/or an associated real estate professional to obtain the Secured

            Creditor’s consent is in the best interest of the Debtors’ bankruptcy estate.

        8. Upon approval of this application, the Trustee anticipates entering into a listing

            agreement substantially in the form attached as Exhibit “C”.           While the listing




R&S 2236326_1
  Case 19-10055        Doc 19      Filed 05/24/19 Entered 05/24/19 12:45:52                Desc Main
                                    Document     Page 4 of 15


            agreement contains a price adjustment clause, the Trustee understands that downward

            adjustments will in fact be made in light of traffic and real estate agent feedback on

            pricing of the Real Property.

        9. BK Global attests that it is a disinterested person within the meaning of Section 101(14)

            of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a).

            Attached hereto as Exhibit “A” is an Affidavit of Disinterestedness of BK Global

            executed by Patrick Butler. BK Global also attests, pursuant to Bankruptcy Rule 2016,

            that it shall not split or share its fee with any individual or entity other than listing agent

            or a buyer’s agent, if applicable.

        WHEREFORE, based upon the foregoing, the Chapter 7 Trustee seeks the Court’s

authority to retain BK Global in this case upon the terms and conditions set forth herein

                Respectfully submitted this 24th day of May, 2019.

                                        __/s/Barbara B. Stalzer__________________
                                        Barbara B. Stalzer
                                        Trustee in Bankruptcy




R&S 2236326_1
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 5 of 15
                             EXHIBIT A
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 6 of 15
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 7 of 15
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 8 of 15
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 9 of 15
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 10 of 15
Case 19-10055   Doc 19    Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                           Document     Page 11 of 15
                         EXHIBIT B
Case 19-10055   Doc 19   Filed 05/24/19 Entered 05/24/19 12:45:52   Desc Main
                          Document     Page 12 of 15
  Case 19-10055        Doc 19      Filed 05/24/19 Entered 05/24/19 12:45:52               Desc Main
                                    Document     Page 13 of 15




                                             EXHIBIT C

                     BK Global Real Estate Brokerage Listing Agreement


This Real Estate Brokerage Listing Agreement (“Agreement”) is between

Barbara B. Stalzer (“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in
the sale of the real and personal property (collectively “Property”) described below:

956 EDMUND STREET ABERDEEN, MD 21001

Upon full execution of a contract for sale and purchase of the Property and court approval, all
rights and obligations of this Agreement will automatically extend through the date of the actual
closing of the sales contract. Trustee and Broker acknowledge that this Agreement does not
guarantee a sale. This Property will be offered to any person without regard to race, color, religion,
sex, handicap, familial status, national origin, or any other factor protected by federal, state, or
local law. Trustee certifies and represents that she/he/it is legally entitled to convey the Property
and all improvements.

Price: The starting listing price of the property will be not less than $210,000.00. If there are no
acceptable offers after 15 days, the list price shall be reduced 5%, and will be similarly reduced
every 15 days until the listing expires or an acceptable offer is received. The agreed upon Buyer’s
Premium of $10,000.00 is not subject to such reduction.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to
procure the consent and agreement of the senior mortgagee (“Secured Creditor”) to:

    a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you determine to have
       made the best qualified offer during a public sale approved by the court or agree to
       11 U.S.C. § 363(k) and place a credit bid on the Property from the estate;

    b) Release its lien with respect to the Property upon closing; and

    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission
       payable to the local real estate broker and all other fees and expenses associated with the
       sale, and (y) provide a carve-out for the benefit of allowed unsecured creditors of the estate

Brokers Duties: Broker or associated real estate professional duties will include but will not be
limited to the following services;

       Researching the real estate, running title and lien searches to identify creditors for resolution
        and any title issues.


R&S 2236326_1
  Case 19-10055        Doc 19      Filed 05/24/19 Entered 05/24/19 12:45:52               Desc Main
                                    Document     Page 14 of 15


       Advising the trustee of any issues and discuss potential resolutions.
       Conducting the resolutions under the trustee’s direction.
       Assisting the trustee in the collection of documents and information for employment.
       Making and identifying the correct contact with the secured creditors.
       Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
       Assisting the trustee in establishing market value and negotiating with the Servicer an
        acceptable sales price and establishing a carve-out.
       Development of online marketing, email campaign and full nationwide marketing services.
       Conducting an online sale.
       Use of the BK Global technology platform.
       Assist the trustee in the review of all offers and coordinate the final documentation of the offer
        accepted by the trustee.
       Managing contract requirements such as inspections, appraisals and HOA applications.
       Coordinating closings and assisting the trustee in the collection of required information for
        court filing.
       Closing the transaction and ensure the estate has received the appropriate funds.
       Inspecting the property and completing a broker’s price opinion.
       Listing the property in the multiple listing service (MLS).
       Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

    a) Cooperate with Broker in carrying out the purpose of this Agreement
    b) Provide Broker with keys to the Property and make the Property available for Broker to
       show during reasonable times.
    c) File all court motions and documents in a timely manner to ensure a successful sale.
    d) Advise Broker of any special issues or court requirements.

Term of Agreement: The term of this Agreement will commence when signed by the Trustee
and the court approves it. This Agreement will automatically terminate upon the closing of the
sale of the Property, or it may be terminated by either party for any or no reason after 180 days
from commencement. In addition, this Agreement will be terminated if the Trustee files a Report
of No Distribution, files a Notice of Abandonment of the subject property, or submits a Trustee’s
Final Report to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an
individual capacity, but solely as trustee of the estate, (b) Broker does not and will not have any
right or claim with respect to the estate and (c) Brokers sole recourse for payment of real estate
commission, fees and expenses will be paid at closing with court approval and under the Consent
of the Secured.

This Agreement constitutes our complete agreement on this matter and supersedes all prior
agreements and representations concerning the same. It may not be modified or amended except
in a writing signed by both parties.




R&S 2236326_1
  Case 19-10055        Doc 19     Filed 05/24/19 Entered 05/24/19 12:45:52        Desc Main
                                   Document     Page 15 of 15


The effective date of this agreement is __________________.

BROKER:



By:                                      Acknowledged and agreed as of the date set forth above.
      Patrick Butler, Broker-in-Charge



TRUSTEE:



                                        Acknowledged and agreed as of the date set forth above.
Barbara B, Stalzer, not individually but solely as Trustee in the referenced matter.




R&S 2236326_1
